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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

ANDREA L. MARION,                 )
                                  )
    Plaintiff,                    )                 Civil Action File No.
                                  )                 1:24-cv-03650-MLB-AWH
vs.                               )
                                  )
ASSOCIATED CREDIT SERVICES, INC., )
                                  )
    Defendant.                    )
                                  )

               DEFENDANT’S PRELIMINARY REPORT AND
                      DISCOVERY SCHEDULE

       COMES NOW, Defendant Associated Credit Services, Inc., (“Defendant”)

and files its Preliminary Report and Discovery Schedule. Pursuant to LR 16.2,

Defendant files this separate statement because plaintiff is proceeding pro se.

1.     Description of Case:

       (a) Describe briefly the nature of this action.

        Plaintiff Andrea L. Marion (“Plaintiff”) contends that Defendant violated

the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §§ 1692 et seq., and

the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq., in its attempt to

collect an unpaid account from Plaintiff.

        (b) Summarize, in the space provided below, the facts of this case. The

summary should not be argumentative nor recite evidence.


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Defendant’s Summary:

      Plaintiff has multiple accounts with Six Flags Theme Parks that are unpaid.

Defendant attempted to collect those accounts. Defendant’s reporting of the unpaid

accounts is accurate, and it conducted reasonable investigations. Defendant denies

that its actions or omissions in attempting to collect those accounts violated the law.

(c) The legal issues to be tried are as follows:

             1)     Whether Plaintiff is a “consumer” as defined by the FDCPA;

             2)     Whether Defendant was engaged in the collection of a “debt” as

                    defined by the FDCPA;

             3)     Whether Plaintiff’s account is a “debt” under the FDCPA;

             4)     Whether Defendant is a “debt collector” under the FDCPA;

             5)     Whether Defendant’s actions violated the FDCPA;

             6)     Whether Defendant reported inaccurate information as defined

                    by the FCRA;

             7)     Whether Defendant violated the FCRA;

             8)     If Defendant did violate the FCRA, whether that violation was

                    willful or negligent;

             9)     Whether Plaintiff has been damaged;

             10)    Whether Defendant’s actions were the cause of any of

                    Plaintiff’s damage;


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             11)     Whether the Plaintiff is entitled to actual damages;

             12)     The amount of actual damages, if any, to be awarded to the

                     Plaintiff;

             13)     Whether the Plaintiff is entitled to statutory damages;

             14)     The amount of statutory damages, if any, to be awarded to the

                     Plaintiff;

             15)     Whether Plaintiff is entitled to punitive damages, and

             16)     Whether Defendant is entitled to its affirmative defenses.

       (d) The cases listed below (include both style and action number) are:

             (1) Pending Related Cases:

             None.

             (2) Previously Adjudicated Related Cases:

             None.

2.     This case is complex because it possesses one (1) or more of the features

       listed below (please check):

       This case is not complex.

        ___ (1) Unusually large number of parties

        ___ (2) Unusually large number of claims or defenses

        ___ (3) Factual issues are exceptionally complex

        ___ (4) Greater than normal volume of evidence


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        ___ (5) Extended discovery period is needed

        ___ (6) Problems locating or preserving evidence

        ___ (7) Pending parallel investigations or action by the government

        ___ (8) Multiple use of experts

        ___ (9) Need for discovery outside United States boundaries

        ___ (10) Existence of highly technical issues and proof

3.     Counsel:

       The following individually-named attorneys are hereby designated as

lead counsel for the parties:

       Pro Se Plaintiff:         Andrea Marion

       Defendant:                Jonathan K. Aust
                                 Bedard Law Group, P.C.
                                 4855 River Green Parkway
                                 Suite 310
                                 Duluth, Georgia 30096
                                 Phone: (678) 253-1871
                                 jaust@bedardlawgroup.com

4.     Jurisdiction:

       Is there any question regarding this Court's jurisdiction?

       _X__Yes ____        No.

       If "yes," please attach a statement, not to exceed one (1) page,

explaining the jurisdictional objection. When there are multiple claims,




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identify and discuss separately the claim(s) on which the objection is based.

Each objection should be supported by authority.

Defendant contends that Plaintiff lacks standing to bring the claims asserted in his

Complaint based on Spokeo, Inc. v. Robins., 136 S. Ct. 1540 (2016); Trichell v.

Midland Credit Mgmt., 964 F. 3d 990 (11th Cir. 2020); Hunstein v. Preferred

Collection & Mgmt. Servs., 2022 U.S. App. LEXIS 25233 (11th Cir. Sept. 8, 2022).

5.     Parties to This Action:

             (a) The following persons are necessary parties who have not been

joined:

             None.

             (b) The following persons are improperly joined as parties:

             None.

             (c) The names of the following parties are either inaccurately

stated or necessary portions of their names are omitted:

             None.

             (d) The parties shall have a continuing duty to inform the Court

of any contentions regarding unnamed parties necessary to this action or any

contentions regarding misjoinder of parties or errors in the statement of a

party's name.

6.     Amendments to the Pleadings:


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        Amended and supplemental pleadings must be filed in accordance with

the time limitations and other provisions of Fed. R. Civ. P. 15. Further

instructions regarding amendments are contained in LR 15.

       (a) List separately any amendments to the pleadings which the parties

anticipate will be necessary:

       None.

       (b) Amendments to the pleadings submitted LATER THAN THIRTY

(30) DAYS after the preliminary planning report is filed or should have been

filed will not be accepted for filing, unless otherwise permitted by law.

7.     Filing Times For Motions:

       All motions should be filed as soon as possible. The local rules set

specific filing limits for some motions. These times are restated below.

       All other motions must be filed WITHIN THIRTY (30) DAYS after the

preliminary planning report is filed or should have been filed, unless the filing

party has obtained prior permission of the Court to file later. Local Rule

7.1A(2).

       (a) Motions to Compel: before the close of discovery or within the

extension period allowed in some instances. Local Rules 37.1.

       (b) Summary Judgment Motions: within twenty (20) days after the close

of discovery, unless otherwise permitted by Court order. Local Rule 56.1.


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       (c) Other Limited Motions: Refer to Local Rules 7.2A, 7.2B, and 7.2E,

respectively, regarding filing limitations for motions pending on removal,

emergency motions, and motions for reconsideration.

       (d) Motions Objecting to Expert Testimony: Daubert motions with regard

to expert testimony no later than the date that the proposed order is

submitted. Refer to Local Rule 7.2F.

8.     Initial Disclosures:

       The parties are required to serve initial disclosures in accordance with

Fed. R. Civ. P. 26. If any party objects to that initial disclosures are not

appropriate, state the party and basis for the party’s objection.

       Defendant does not object to serving initial disclosures.

9.     Request for Scheduling Conference:

       Does either party request a scheduling conference with the Court? If so,

please state the issues which could be addressed and the position of each

party.

       Defendant does not request a scheduling conference.

10.    Discovery Period:

       The discovery period commences thirty (30) days after the appearance

of the first defendant by answer to the complaint. As stated in LR 26.2,




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responses to initiated discovery must be completed before expiration of the

assigned discovery period.

      Cases in this Court are assigned to one of the following three (3)

discovery tracks: (a) zero (0)-months discovery period, (b) four (4)-months

discovery period, and (c) eight (8)-months discovery period. A chart showing

the assignment of cases to a discovery track by filing category is contained in

Appendix F. The track to which a particular case is assigned is also stamped

on the complaint and service copies of the complaint at the time of filing.

      Please state below the subjects on which discovery may be needed:

      Defendant:

1. All evidence relating to Plaintiff’s claims and damages asserted in the

   Complaint;

2. All of Plaintiff’s correspondence sent to or received from Defendant;

3. All of Plaintiff’s correspondence sent to or received from any third party

   relating the unpaid account at issue in this case;

4. All of Plaintiff’s communication to or from Defendant;

5. Plaintiff’s medical history and medical records;

6. Plaintiff’s credit history;

7. Plaintiff’s credit/mortgage/housing/refinancing applications/denials;

8. Plaintiff’s credit reports;


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9. Plaintiff’s credit score;

10.Plaintiff’s sources of income;

11.Defendant reserves the right to seek additional discovery.

      If the parties anticipate that additional time beyond that allowed by the

assigned discovery track will be needed to complete discovery or that

discovery should be conducted in phases or to be limited to or focused upon

particular issues, please state those reasons in detail below: None. Discovery

shall end September 26, 2025.

11.   Discovery Limitations and Discovery of Electronically Stored

Information:

      (a) What changes should be made in the limitations on discovery

imposed under the Federal Rules of Civil Procedure or Local Rules of this

Court, and what other limitations should be imposed.

      None at this time.

      (b) Is any party seeking discovery of electronically stored information?

      X Yes         _____ No

      If “yes,”

      (1) The parties have discussed the sources and scope of the production of

electronically stored information and have agreed to limit the scope of

production (e.g., accessibility, search terms, data limitations, or key witnesses)


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as follows:

      Discussions are on-going.

      (2) The parties have discussed the format for the production of

electronically stored information (e.g., Tagged Image File Format (TIFF or

.TIF files), Portable Document Format (PDF), or native), method of production

(e.g., paper or disk), and the inclusion or exclusion and use of metadata, and

have agreed as follows:

      Discussions are on-going.

      In the absence of agreement on issues regarding discovery of

electronically stored information, the parties shall request a scheduling

conference in paragraph 9 hereof.

12.    Other Orders:

      What other orders do the parties think that the Court should enter

under Rule 26(c) or under Rule 16 (b) and (c)?

      Defendant asserts the need for a protective order to be entered by the Court

to protect against public disclosure of certain confidential and proprietary

information which the Defendant anticipates will be requested by the Plaintiff in

discovery.




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13.   Settlement Potential:

      (a) Defendant certifies by his signatures below that the Parties

conducted a Rule 26(f) conference via telephone on May 19, 2025, and that

they participated in settlement discussions.

      For Defendant:       /s/ Jonathan K. Aust
                           Jonathan K. Aust

      (b) All parties were promptly informed of all offers of settlement and

following discussion by all counsel, it appears that there is now:

      ( X ) A possibility of settlement before discovery.

      ( X ) A possibility of settlement after discovery.

      (__) A possibility of settlement, but a conference with the judge is

needed.

      (__) No possibility of settlement.

      (c) Counsel ( X ) do or (____) do not intend to hold additional

settlement conferences among themselves prior to the close of discovery. The

proposed date of the next settlement conference is to be determined.

      (d) The following specific problems have created a hindrance to

settlement of this case.

      None.




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14.     Trial by Magistrate Judge:

        Note: Trial before a Magistrate Judge will be by jury trial if a party is

otherwise entitled to a jury trial.

        (a) The parties (______) do consent to having this case tried before a

magistrate judge of this Court. A completed Consent to Jurisdiction by a

United States Magistrate Judge form has been submitted to the Clerk of

Court

        (b) The parties ( X ) do not consent to having this case tried before a

magistrate judge of this Court.

Dated: June 4, 2025.

BEDARD LAW GROUP, P.C.

By:     /s/ Jonathan K. Aust
        Jonathan K. Aust
        Georgia Bar No. 448584
        4855 River Green Parkway
        Suite 310
        Duluth, Georgia 30096
        Telephone: (678) 253-1871
        jaust@bedardlawgroup.com

        Attorney for Defendant




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                                 *****
                            SCHEDULING ORDER

      Upon review of the information contained in the Preliminary Report and

Discovery Schedule, the Court orders that the time limits for adding parties,

amending the pleadings, filing motions, completing discovery, and discussing

settlement are as stated in the above completed form, except as herein modified:

      Discovery shall end September 26, 2025.

 IT IS SO ORDERED, this ________ day of ____________, 2025

                          ________________________________________
                          UNITED STATES DISTRICT JUDGE




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